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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
LIBI HERZ and ESTHER HERZ,
                  Appellants,

          -against-                                           MEMORANDUM AND ORDER
                                                                 SETTING BRIEFING
                                                                     SCHEDULE
                                                                  18-CV-2991 (RRM)
RICHARD O’CONNELL and CHAPTER 7
TRUSTEE,
                  Appellees.
------------------------------------------------------X
ROSLYNN R. MAUSKOPF, United States District Judge.

        The above-captioned bankruptcy appeal was filed on May 21, 2018 and has been

assigned to Judge Roslynn R. Mauskopf. By letters dated June 13, 2018 (Doc. No. 2), July 18,

2018 (Doc. No. 4), and August 8, 2018 (Doc. No. 5), pro se appellants Libi Herz and Esther

Herz requested extensions of the time to file their appellate brief. The Court GRANTS those

requests, nunc pro tunc to June 13, 2018. As such, the time has not yet expired for the Herz’s to

file their brief.

        The parties will comply with the following briefing schedule:

        Appellants shall serve their brief on appellee by April 30, 2019.

        Appellees shall serve their response on appellants by May 30, 2019.

        Appellants shall serve their reply on appellee, and file the fully-briefed appeal, by June

17, 2019.

        The Clerk of Court is directed to mail copies of this Memorandum and Order to Libi Herz

and Esther Herz, together with a copy of the entire docket sheet for this action, and note the

mailing on the docket.
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                                  SO ORDERED.

Dated: Brooklyn, New York         Roslynn R. Mauskopf
       March 20, 2019             ________________________
                                  ROSLYNN R. MAUSKOPF
                                  United States District Judge
